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 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11                                  WESTERN DIVISION
12

13                                                    Case No.:
       RICHARD GRAHAM
14
                                                      COMPLAINT AND DEMAND
15             Plaintiffs,                            FOR JURY TRIAL
16     vs.
17     BANK OF AMERICA, N.A.;
18     EQUIFAX INFORMATION
                                                      Unlimited Civil Jurisdiction
       SERVICES, LLC
19

20             DefendantS.

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 1                                         INTRODUCTION
 2         1.     Plaintiff Richard Graham (“Plaintiff”) brings this Complaint for Damages
 3   against Defendants Bank of America, N.A. (“BOA”) and Equifax Information
 4   Services, LLC (“Equifax”).
 5         2.     Plaintiff brings this action for damages based upon Defendants’
 6   violations of: (1) the Fair Credit Report Act (“FCRA”), 15 U.S.C. § 1681; and (2) the
 7   California Consumer Credit Reporting Agencies Act (“CCCRA”), Cal. Civ. Code §
 8   1785.25.
 9                              VENUE AND JURISDICTION
10         3.     This Court has original jurisdiction pursuant to 28 U.S.C. § 1332(a). The
11   matter in controversy, exclusive of interest and costs, exceeds the sum of value of $
12   75,000.00, and is a class action in which at least one member of the class of plaintiffs
13   is a citizen of a State different from any Defendant.
14         4.     Jurisdiction of this Court also arises pursuant to 15 U.S.C. § 1681(p),
15   which states that such actions may be brought and heard before “any appropriate
16   United States district court, without regard to the amount in controversy.” The Court
17   has jurisdiction over the state law claims pursuant to 15 U.S.C. § 1367.
18         5.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as the events
19   described in this complaint took place within this district.
20                                          PARTIES
21         6.     Plaintiff, Richard Graham, is a natural person who resides in Simi Valley,
22   California. Plaintiff is a "consumer" as defined by the FCRA, 15 U.S.C. § 1681(a).
23   and by the CCCRAA, Cal. Civ. Code § 1785.3(b).
24         7.      Defendant BANK OF AMERICA, N.A. (“BOA”) is and was, at all relevant
25   times stated herein, a corporation with its headquarters in Salt Lake City, Utah, which
26   engaged in the practice of furnishing consumer information to consumer reporting
27   agencies, and is therefore a “furnisher of information” as contemplated by 15 U.S.C. §
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 1   1681s-2(a) & (b) and Cal. Civ. Code § 1785.25(a). Defendant BOA is a “person” as
 2   defined by the FCRA, Section 1681a(b), and Cal. Civ. Code § 1785.3(j).
 3           10.    Defendant EQUIFAX INFORMATION SERVICES LLC (hereinafter
 4   “Equifax”) is a limited liability company with its principal place of business located in
 5   Atlanta, Georgia. At all relevant times herein, Defendant, Equifax, was an entity

 6   which, for monetary fees, dues, or on a cooperative nonprofit basis, regularly engaged
     in whole or in part in the practice of assembling or evaluating consumer credit
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     information or other consumer information for the purpose of furnishing consumer
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     reports to third parties, and used some mean or facility of interstate commerce for the
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     purpose of preparing or furnishing consumer reports, and is therefore a “consumer
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     reporting agency” as defined by 15 U.S.C. § 1681a(f).
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             11.    Defendant acted through their agents, employees, officers, members,
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     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
13
     representatives and insurers.
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             12.    Plaintiff is informed and believes and on that basis alleges that
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     Defendants are responsible for the acts, occurrences and transactions as officers,
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     directors or managing agents of Defendant, or as their agents, servants, employees,
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     and that each of them are legally liable to Plaintiffs, as set forth below.
18
                   FACTUAL ALLEGATIONS COMMON TO ALL COUNTS
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             13.    On October 7, 2009, Plaintiff filed for Chapter 13 Bankruptcy in the
20
     United States Bankruptcy Court for the Central District of California, Case. No. 1:09-
21
     BK-23258-VK
22
             14.    On February 27, 2013, Plaintiff filed a Motion to Abandon the Real
23
     Property located at 4730 East Craig Road, Nuit 1113, Las Vegas, NV 89115 in the
24
     Bankruptcy Court. The Bankruptcy Court granted Plaintiff’s motion on March 25,
25
     2013.
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             15.    On April 2, 2015, Plaintiff obtained a discharge of all debts he had
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     incurred prior to the filing of their bankruptcy petition.
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 1         16.      Within the last two years, Plaintiff conducted a credit review with the
 2   three major credit reporting agencies, Experian, Equifax and Trans Union (collectively
 3   referred to as “credit reporting agencies” or “CRAs”), and discovered inaccuracies in
 4   their credit files. Plaintiff discovered that Defendant BOA was furnishing false and
 5   inaccurate information to Transunion, Experian and Equifax that Plaintiff still owed
 6   an outstanding deficiency balance of $ 126,884.00 for the mortgage relating to the
 7   Real Property located at 4730 East Craig Road, Nuit 1113, Las Vegas, NV 89115.
 8   (hereinafter, “The Deficiency Balance”).
 9         18.      The Deficiency Balance which BOA was reporting was incurred prior to
10   the filing of Plaintiff’s bankruptcy petition and was inaccurate because any personal
11   liability for the deficiency balance was extinguished by virtue of Plaintiff’s surrender
12   and abandonment of the property and Plaintiff’s discharge in his bankruptcy
13   proceedings.
14         19.      Subsequently, Plaintiff formally disputed the alleged debt with Equifax
15   and Experian and Transunion several times.
16         20.      Upon receipt of Plaintiff’s disputes, Equifax, Experian and Transunion
17   sent automatic customer dispute verification forms (“ACDV’s”) informing BOA that
18   Plaintiff was disputing BOA’s reporting of the deficiency balance.
19         21.      Upon receipt of these ACDVs, BOA continued to furnish inaccurate
20   information about Plaintiff regarding the deficiency balance to Equifax.
21         22.      Despite Plaintiff’s exhaustive efforts to date to remove the erroneous
22   information reported by the Defendants, the Defendants have nonetheless repeatedly,
23   deliberately, willfully, intentionally, recklessly, and negligently failed to perform

24   reasonable investigations of the above disputes as required by the FCRA, have failed
     to remove the inaccurate information, have failed to include accurate information,
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     have failed to report on the results of the reinvestigations and have continued to report
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     the derogatory information about Plaintiff.
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 1         23.    As a result of Defendants’ conduct, Plaintiff has suffered actual damages
 2   and serious financial and pecuniary harm arising from monetary losses related to
 3   credit denials, loss of use of funds, loss of credit and loan opportunities, excessive
 4   and/or elevated interest rate and finance charges, out-of-pocket expenses including,
 5   but not limited to, local or long distance telephone charges, postage, faxing and other

 6   related costs, all of which will continue into the future to Plaintiff’s great detriment
     and loss.
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           24.    As a result of Defendant’s conduct, Plaintiff has suffered great physical,
 8
     emotional and mental pain and anguish, and Plaintiff will continue to suffer the same
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     for an indefinite time in the future, all to Plaintiff’s great detriment and loss.
10
           25.    As a result of Defendants’ conduct, Plaintiff has suffered actual damages
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     in the form of financial and dignitary harm arising from injury to their credit rating
12
     and reputation, and Plaintiff will continue to suffer the same for an indefinite time in
13
     the future, all to Plaintiff’s real detriment and loss.
14         26.    As a result of Defendants’ conduct, Plaintiff has suffered decreased credit
15   score as a result of the negative entry appearing on Plaintiff’s credit file, preventing
16   them from being able to obtain credit.
17                                   FIRST CAUSE OF ACTION
18            (Violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.)
19                                           (Against BOA)
20         27.    Plaintiff incorporates the foregoing paragraphs as though the same were
21   set forth at length herein.
22         28.    The FCRA requires a furnisher such as BOA, after receiving notice from
23   a credit reporting agency that a consumer disputes information that is being reported
24   by that furnisher, to conduct an investigation with respect to the disputed information,
25   to review all relevant information, to report the results of the investigation to the credit
26   reporting agency, and, if the investigation reveals that the information is incomplete or
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 1   inaccurate, to report those results to all other credit reporting agencies to which the
 2   furnisher has provided the inaccurate information.
 3         29.      Within the last two years, defendant BOA provided inaccurate
 4   information to the credit reporting agencies.
 5         30.      Within the past two years, Plaintiff notified Experian, Equifax, and Trans
 6   Union that his report concerning the BOA trade-line was inaccurate. Thereafter, the
 7   credit reporting agencies notified BOA that Plaintiff was disputing the information
 8   BOA had furnished to the credit reporting agencies.
 9         32.      BOA violated sections 1681n and 1681o of the FCRA by engaging in the
10   following conduct that violates 15 U.S.C. §s-2(b);
11               a. willfully and negligently failing to conduct an investigation of the
12                  inaccurate information that Plaintiffs disputed;
13               b. willfully and negligently failing to review all relevant information
14                  concerning Plaintiffs’ account provided to BOA;
15               c. willfully and negligently failing to report the results of investigations to
16                  the relevant consumer reporting agencies;
17               d. willfully and negligently failing to report the inaccurate status of the
18                  inaccurate information to all credit reporting agencies;
19               e. willfully and negligently failing to properly participate, investigate and
20                  comply with the reinvestigations that were conducted by any and all
21                  credit reporting agencies concerning the inaccurate information disputed
22                  by Plaintiffs;
23               f. willfully and negligently continuing to furnish and disseminate inaccurate
24                  and derogatory credit, account and other information concerning the
25                  Plaintiffs to credit reporting agencies;
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 1               g. willfully and negligently continuing to furnish and disseminate inaccurate
 2                  and derogatory credit, account and other information concerning
 3                  Plaintiffs’ account to credit reporting agencies; and
 4               h. willfully and negligently failing to comply with the requirements
 5                  imposed on furnishers of information pursuant to 15 U.S.C. §1681s-2(b).
 6         33.      In attempting to collect the aforementioned alleged debt, BOA, by and
 7   through their agents and employees, violated the provisions of the Fair Credit
 8   Reporting Act by furnishing information on the Plaintiff to one or more consumer
 9   reporting agency although Defendant knew, or consciously avoided knowing, that the
10   information was inaccurate; to wit, Defendant BOA continued to report that Plaintiff

11   owed a deficiency balance when this debt was discharged by the bankruptcy court.
           34.      BOA’s conduct was a direct and proximate cause, as well as a substantial
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     factor, in causing the serious injuries, damages and harm to Plaintiff that are outlined
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     more fully above, and as a result, Defendant are liable to compensate the Plaintiff for
14
     the full amount of statutory, actual and punitive damages, along with attorneys’ fees
15
     and costs, as well as other such relief, permitted by 15 U.S.C. § 1681n.
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                                    SECOND CAUSE OF ACTION
17
              (Violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.)
18
                                         (Against Equifax)
19         35.      Plaintiff incorporates the foregoing paragraphs as though the same were
20   set forth at length herein.
21         36.      The Fair Credit Reporting Act provides that if the completeness or
22   accuracy of any item of information contained in a consumer's file at a consumer
23   reporting agency is disputed by the consumer and the consume notifies the agency
24   directly of such dispute, the agency shall conduct a reasonable reinvestigation to
25   determine whether the disputed information is inaccurate, or delete the item from the

26   file within 30 days of receiving the consumer's dispute notice. 15 USC §
     1681i(a)(l)(A).
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 1         37.       The Act further requires the credit reporting agency, within 5 business
 2   days of receiving notice of the consumer's dispute, to provide notification of the
 3   dispute to the person who furnished the information in dispute and requires the credit
 4   reporting agency to "include all relevant information regarding the dispute that the
 5   agency received from the consumer." 15 USC § 1681i(a)(2) (A). In conducting its

 6   reinvestigation of disputed information in a consumer report, the credit reporting
     agency is required to "review and consider all relevant information submitted by the
 7
     consumer."
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           38.       Within the two years preceding the filing of this complaint, Plaintiff
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     notified Equifax of an inaccuracy contained in its reports and asked them to correct
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     the inaccuracy.
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           39.       Equifax failed to conduct a reasonable reinvestigation of the inaccuracies
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     that Plaintiff disputed.
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           40.       Equifax failed to review and consider all relevant information submitted
14   by Plaintiff.
15         41.       Equifax failed to employ and follow reasonable procedures to assure
16   maximum possible accuracy of Plaintiff’s credit report, information and file in
17   violation of 15 USC § 1681e(b).
18         42.       As a result of the above-described violations of § 1681i and § 1681e(b),
19   Plaintiff has sustained damages, as outlined above.
20         43.       Equifax’s violations of the FCRA were willful and Plaintiff is therefore

21   entitled to also seek statutory and punitive damages.

22
                                      THIRD CAUSE OF ACTION
       (Violations of the California Consumer Credit Reporting Agencies Act, California
23
                                        Civil Code §§1785.25(a))
24
                                             (Against BOA)
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           44.       Plaintiff incorporates the foregoing paragraphs as though the same were
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     set forth at length herein.
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 1         45.      California Civil Code § 1785.25(a) states that a "person shall not furnish
 2   information on a specific transaction or experience to any consumer credit reporting
 3   agency if the person knows or should know the information is incomplete or
 4   inaccurate."
 5         46.      California Civil Code § 1785.25(b) states that a furnisher that determines

 6   a report to a credit reporting agency is not accurate or complete shall promptly notify
     the consumer reporting agency of that determination and provide corrections to the
 7
     consumer reporting agency that is necessary to make the information complete and
 8
     accurate.
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           47.      California Civil Code § 1785.25(c) provides that if the completeness or
10
     accuracy of any information on a specific transaction or experience provided to a
11
     consumer reporting agency is disputed by the consumer, the furnisher may not
12
     continue reporting the information unless it provides a notice to the consumer
13
     reporting agency that the information is disputed by the consumer.
14         48.      Defendant BOA negligently and willfully furnished information to the
15   credit reporting agencies it knew or should have known was inaccurate.
16         49.      Based on these violations of Civil Code § 1785.25(a), Plaintiffs are
17   entitled to the remedies afforded by Civil Code § 1785.31, including actual damages,
18   attorney's fees, pain and suffering, injunctive relief, and punitive damages in an
19   amount not less than $100 nor more than $5,000, for each violation as the Court
20   deems proper.

21                                   PRAYER FOR RELIEF

22         WHEREFORE, Plaintiffs prays for judgment as follows:

23         50.      an award of actual damages, in an amount to be determined at trial,

24   pursuant to 15 U.S.C § 1681(n) and Cal. Civ. Code § 1785.31(a)(2)(A);

25         51.      an award of statutory damages of $ 1,000.00 per willful violation of the

26   FCRA, pursuant to 15 U.S.C § 1681(n);

27         52.      an award of punitive damages under 15 U.S.C § 1681(n);

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 1          53.   an award of punitive damages of $ 100.00 - $ 5,000.00 per willful
 2    violation of Cal. Civ. Code § 1785.25(a);
 3          54.   an award of attorneys’ fees and costs pursuant to 15 U.S.C § 1681(o) and
 4    Cal. Civ. Code § 1785.31(d);
 5          55.   Providing such further relief as may be just and proper.
 6    Dated: January 31, 2016                       Respectfully submitted,
 7                                                  MARTIN & BONTRAGER, APC
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 9                                                  /s/ G. Thomas Martin, III
                                                    G. Thomas Martin, III
10                                                  Attorney for Plaintiffs
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